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                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMtrRICA                NO. 1:CR-14-321

                                         (.iUNCT CALDWELL)

TERRENCE BYRD.                           (ELECTRONICALLY FILED)
       Defendant

                            PLEAAGREEMENT

       The following Plea Agreement is entered into by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.




A. Violation(s) and Penalties
       1.    Guilt   lea. The defendant a grees to plead guilty to both

Counts of the Indictment, which charges the defendant in Count I with

a   violation ofTitle 21, United States Code, Section Saf(a)(l)(possession

w/intent to distribute heroin), and in count II with a violation of Title

1g,   united states code, section 931 (poss. of body armor by prohibited

person). The maximum penalty for the offense in Count I is
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imprisonment for a period of 20 years, a fine of $1 million dollars, a

mandatory minimum term of supervised release of 3 years up to life to

be determined by the court, which shall be served at the conclusion of

and in addition to any term of imprisonment, as well as the costs of

prosecution, imprisonment, probation, or supervised release ordered,

denial of certain federal benefits. and an assessment in the amount of

$100.00. The maximum penalty for the offense in Count      II   is

imprisonment for a period of 3 years, a fine of $250,000.00, a term of

supervised release to be determined by the court, which shall be served

at the conclusion of and in addition to any term of imprisonment, as

well as the costs of prosecution, imprisonment, probation, or supervised

release ordered, denial of certain federal benefits, and an assessment in

the amount of $100.00. At the time the guilty plea is entered, the

defendant shall admit to the court that the defendant is, in fact, guilty

of the offenses charged in the Indictment. After sentencing, the United

States will move for dismissal of any remaining counts. The defendant

agrees, however, that the United States may, at its sole election,

reinstate any dismissed counts or seek additional charges in the event
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the charge(s) to which the defendant pleads guilty pursuant to this

Agreement subsequently are vacated, set aside, or invalidated by the

district court or appellate court. The defendant further agrees to warve

any defenses to reinstatement ofthose charges or additional charges

based upon laches, the assertion of speedy   trial rights, any applicable

statute of limitations, or any other ground. The calculation of time

under the Speedy Trial Act for when trial must commence is tolled as of

the date of the defendant's signing of this Plea Agreement.

     2.    Term ofSupervised Release. The defendant understands

that the court must impose at least a 3 year term of supervised release

in addition to any term of imprisonment, fine or assessment involving       a

violation ofthe Controlled Substances Act. The defendant also

understands that the court must impose a term of supervised release

following any sentence of imprisonment exceeding one (1) year, or when

required by statute. The court may rcquire a term of supervised release

in any other case. In addition, the defendant understands that as a

condition of any term of supervised release or probation, the court must
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order that the defendant cooperate in the collection of a DNA sample    if
the collection of a sample is so authorized by law.

      3.    Maximum Sentence     - Multiple Counts. The defendant
understands that the total, maximum possible sentence for all charges

is the combination of penalties described abovei that is, 23 years in

prison and/or fines totaling $1,250,000.00, at least 3 years of supervised

release, the costs ofprosecution, denial ofcertain federal benefits and

an assessment totaling $200.00.

      4.    No Further Prosecution Exce D t Tax C ha rees. The United

States Attorney's Office for the Middle District of Pennsylvania agrees

that it will not bring any other criminal charges against the defendant

directly arising out of the defendant's involvement in the offense(s)

described above. However, nothing in this Agreement will     limit
prosecution for criminal tax charges, if any, arising out of those

offenses.




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B.   Fines and Aesessments

      5.    Fine. The defendant understands that the court may impose

a fine pursuant to the Sentencing Reform Act of 1984. The     willful
failure to pay any fine imposed by the court, in full, may be considered a

breach ofthis Plea Agreement. Further, the defendant acknowledges

that willful failure to pay the fine may subject the defendant to

additional criminal violations and civil penalties pursuant to Title    18,

United States Code, Section 3611, et seq.

      6.   Alternative Fine. The defendant understands that under the

alternative fine section ofTitle 18. United States Code. Section 3571.

the maximum fine quoted above may be increased if the court finds that

any person derived pecuniary gain or suffered pecuniary loss from the

offense and that the maximum fine to be imposed, if the court elects to

proceed in this fashion, could be twice the amount of the gross gain or

twice the amount of the gross loss resulting from the offense.

      7.   Inmate Financial Responsi bilitv Proer am. If the court

orders a fine or restitution as part ofthe defendant's sentence, and the

sentence includes a term of imprisonment, the defendant agrees to
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voluntarily enter the United States Bureau of Prisons-administered

program known as the Inmate Financial Responsibility Program

through which the Bureau of Prisons wiII collect up to 50% of the

defendant's prison salary and apply those amounts on the defendant's

behalfto the payment ofthe outstanding fine and restitution orders.

     8.    Special Assessment. The defendant understands that the

court will impose a special assessment of $200.00 pursuant to the

provisions of Title 18, United States Code, Section 3013. Not later than

the date ofsentencing, the defendant or defendant's counsel shall mail a

check in payment of the special assessment directly to the Clerk, United

States District Court, Middle District of Pennsylvania. If the defendant

intentionally fails to make this payment this failure may be treated as a

breach of this PIea Agreement and may result in further prosecution,

the filing of additional criminal charges, or a contempt citation.

     9.    Collection of Financial Oblieations. In order to facilitate the

collection of financial obligations to be imposed in connection with this

case. defendant consents and agrees to the following:



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(a) to fully disclose all assets in which defendant has an interest

or over which defendant has control, directly or indirectlyi

including those held by a spouse, nominee, or other third party.

(b) to submit to interviews by the Government regarding the

defendant's financial statusi

(c) to   submit a complete, accurate and truthful financial statement

on the form provided by the Government to the United States

Attorney's Office not later than 14 days following entry of the

guilty pleai

(d whether represented     by counsel or not, to consent to contact by

and communication with the Government, and to waive any

prohibition against communication with a represented party by

the Government regarding defendant's financial statusi

(e) to authorize   the Government to obtain the defendant's credit

reports in order to evaluate the defendant's ability to satisfy any

financial obligations imposed by the courti




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     (f) to submit any financial information requested by the Probation

     Office as directed and to the sharing of financial information

     between the Government and the Probation Office.

C. Sentencins Guidelines Calculation

     10.       Determination of Sentencing Guidelines. The defendant

and counsel for both parties agree that the United States Sentencing

Commission Guidelines, which took effect on November 1, 1987, and its

amendments, as interpreted by United States v. Booker,543U.S.220

(ZOOS),   will apply to the offense or offenses to which the defendant is

pleading guilty. The defendant further agrees that any legal and

factual issues relating to the application ofthe Federal Sentencing

Guidelines to the defendant's conduct, including facts to support any

specific offense characteristic or other enhancement or adjustment and

the appropriate sentence within the statutory maximums provided for

by law, will be determined by the court after briefing, a pre'sentence

hearing, and./or a sentencing hearing.

     1    1.   Acceptance of Responsibilitv- Two Levels.   If the defendant
can adequately demonstrate recognition and affirmative acceptance of
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responsibility to the Government as required by the Sentencing

Guidelines, the Government will recommend that the defendant receive

a two-level reduction in the defendant's offense level for acceptance of

responsibility. The third level, if applicable, shall be within the

discretion of the Government under U.S.S.G.     S   3E1.1. The failure of the

court to find that the defendant is entitled to a reduction shall not be a

basis to void this Plea Agreement.

D. Sentencing Recommendation

      12.   Appropriate Sentence Recommendation. At the time of

sentencing, the United States may make a recommendation that            it
considers appropriate based upon the nature and circumstances ofthe

case and the defendant's participation in the offense, and specifically

reserves the right to recommend a sentence up to and including the

maximum sentence of imprisonment and fine allowable, together with

the cost of prosecution.

      13.   Conditional Plea. Pursuant to Rule      11 (a)(2)   ofthe Federal

Rules of Criminal Procedure, with the approval of the court and the

consent ofthe Government, the defendant enters a conditional plea of
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materially altered if the victim heard other testimony at that

proceedingi

(0    The right to be reasonably heard at any public hearing in the

district court involving release, plea, sentencing, or any parole

proceeding. The defendant understands that the victim's

comments and recommendations at any of these proceedings may

be different than those of the parties to this Agreementi

(e)   The reasonable right to confer with the attorney for the

Government in the case. The defendant understands that the

victim's opinions and recommendations given to the attorney for

the Government may be different than those presented by the

United States as a consequence of this Agreementi

(f)   The right to full and timely restitution as provided for by

law. The attorney for the Government is required to "fully

advocate the rights of victims on the issue of restitution unless

such advocacy would unduly prolong or complicate the sentencing

proceeding," and the court is authorized to order restitution by the



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guilty to the charge(s) described above while reserving the right on

appeal to review the adverse determination of the defendant's motion to

suppress evidence. The parties acknowledge that the defendant shall

be allowed to withdraw any plea of guilty entered pursuant to this

Agreement if the defendant prevails on appeal.

G. Victims'Rishts and Restit ution

     14.   Victims'Rights. The defendant understands that pursuant

to the Victim and Witness Protection Act, the Crime Victims' Rights

Act, the Justice for All Act, and the regulations promulgated under

those Acts by the Attorney General of the United States, crime victims

have the following rights:

     (a)   The right to be reasonably protected from the accusedi

     (b)   The right to reasonable, accurate, and timely notice of any

     public court proceeding or any parole proceeding involving the

     crime, or ofany release or escape ofthe accused;

     (c)   The right not to be excluded from any such public court

     proceeding, unless the court, after receiving clear and convincing

     evidence, determines that testimony by the victim would be
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     defendant including, but not limited to, restitution for property

     loss, economic loss, personal injury, or deathi

     (g)   The right to proceedings free from unreasonable delayi and

     (D    The right to be treated with fairness and with respect for the

     victim's dignity and privacy.

H. Information   Provided to Court and Probation Office

     15.   Backsround Information for Probatipn        O ice.   The

defendant also understands that the United States will provide to the

United States Probation Office all information in its possession which

the United States deems relevant regarding the defendant's

background, character, and involvement in this or other offenses.

     16.   Obiections to Pre-Sentence Report. The defendant

understands that pursuant to the United States District Court for the

Middle District of Pennsylvania "Policy for Guideline Sentencing" both

the United States and defendant must communicate to the Probation

Officer within fourteen (l+) days after disclosure ofthe pre-sentence

report any objections they may have as to material information,

sentencing classifications, sentencing guideline ranges and policy
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statements contained in or omitted from the report. The defendant

agrees to meet with the United States at least five (5) days prior to

sentencing in a good faith attempt to resolve any substantive

differences. If any issues remain unresolved, they shall be

communicated to the Probation Officer for inclusion in an addendum to

the pre-sentence report. The defendant agrees that unresolved

substantive objections will be decided by the court after briefing, or a

pre-sentence hearing, or at the sentencing hearing where the standard

or proofwill be a preponderance ofthe evidence, and the Federal Rules

of Evidence, other than with respect to privileges, shall not apply under

Fed. R. Evid. 1101(d)(3), and the court may consider any reliable

evidence, including hearsay. Objections by the defendant to the pre'

sentence report or the court's rulings,   will not   be grounds for

withdrawal of a plea of guilty.

     17.   Relevant Sentencins Information. At the sentencing, the

United States will be permitted to bring to the court's attention, and the

court will be permitted to consider, all relevant information with

respect to the defendant's background, character and conduct including
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the conduct that is the subject ofthe charges which the United States

has agreed to dismiss. The United States will be entitled to bring to the

court's attention and the court will be entitled to consider any failure by

the defendant to fulfill any obligation under this Agreement.

       18.    Non-Limitation on Government's Response. Nothin g in this

Agreement shall restrict or limit the nature or content of the United

States' motions or responses to any motions filed on behalf of the

defendant. Nor does this Agreement in any way restrict the

government in responding to any request by the court for briefing,

argument or presentation ofevidence regarding the application of

Sentencing Guidelines to the defendant's conduct, including but not

limited to, requests for information concerning possible sentencing

departures.


I.   Court Not Bound bv Plea Ap.reement

       19.    Court Not Bound bv Terms. The defendan t understands

that the court is not a party to and is not bound by this Agreement or

any recommendations made by the parties. Thus, the court is free to


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impose upon the defendant any sentence up to and including the

maximum sentence of imprisonment for 23 years, a fine of

$1,250,000.00, a term of supervised release of at least 3 years, which

shall be served at the conclusion of and in addition to any term of

imprisonment, the costs ofprosecution, denial ofcertain federal benefits

and assessments totaling $200.00.


     20.   No Withdrawal of Plea Based on Sentence or

Recommendations. If the court im poses a sentence with which the

defendant is dissatisfied, the defendant will not be permitted to

withdraw any guilty plea for that reason alone, nor will the defendant

be permitted to withdraw any pleas should the court decline to follow

any recommendations by any of the parties to this Agreement

J.   Breach of PIea       e ment   bv Defendant

     27.   Breach of Agreement. In the event the United States

believes the defendant has failed to   fulfill any obligations under this
Agreement, then the United States shall, in its discretion, have the

option of petitioning the court to be relieved of its obligations. Whether


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or not the defendant has completely fulfilled all of the obligations under

this Agreement shall be determined by the court in an appropriate

proceeding at which any disclosures and documents provided by the

defendant shall be admissible and at which the United States shall be

required to establish any breach by a preponderance ofthe evidence. In

order to establish any breach by the defendant, the United States is

entitled to rely on statements and evidence given by the defendant

during the cooperation phase ofthis Agreement.

     22.   Remedies for Breach. The defendant and the United States

agree that in the event the court concludes that the defendant has

breached the Agreement:

     (a) Ttre defendant will not be permitted to withdraw any guilty

plea tendered under this Agreement and agrees not to petition for

withdrawal of any guilty pleai
     (b)    The United States will be free to make any

recommendations to the court regarding sentencing in this casei

     G)    The United States will be free to bring any other charges    it
has against the defendant, including any charges originally brought
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against the defendant or which may have been under investigation at

the time ofthe plea. The defendant waives and hereby agrees not to

raise any defense to the reinstatement ofthese charges based upon

collateral estoppel, Double Jeopardy or other similar grounds.

      23. Violation of La w While PIea or Sentence Pendine. The
defendant understands that it is a condition of this PIea Agreement

that the defendant refrain from anv further violations of state, Iocal or

federal law while awaiting plea and sentencing under this Agreement.

The defendant acknowledges and agrees that      ifthe    government recelves

information that the defendant has committed new crimes while

awaiting plea and/or sentencing in this case, the government may

petition the court and, ifthe court finds by a preponderance ofthe

evidence that the defendant has committed anv other criminal offense

while awaiting plea or sentencing, the Government shall be free at its

sole election to   either: (a) withdraw from this Agreementi or (b) make

any sentencing recommendations to the court that        it   deems appropriate.

The defendant further understands and agrees that, ifthe court finds

that the defendant has committed any other offense while awaiting plea
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or sentencing, the defendant will not be permitted to withdraw any

guilty pleas tendered pursuant to this Plea Agreement, and the

government will be permitted to bring any additional charges which       it
may have against the defendant.

K.   Other Provisions

     24.   Asreement Not Bindins on Other Agencies. Nothing in this

Agreement shall bind any other United States Attorney's Office, state

prosecutor's office or federal, state or local law enforcement agency.

     25.   No Civil Claims or Suits. The defendant a grees not to

pursue or initiate any civil claims or suits against the United States of

America, its agencies or employees, whether or not presently known to

the defendant, arising out ofthe investigation, prosecution or

cooperation covered by this Agreement, including but not limited to any

claims for attorneys'fees and other litigation expenses arising out ofthe

investigation and prosecution of this matter. By the defendant's guilty

plea in this matter the defendant further acknowledges that the

Government's position in this litigation was taken in good faith, had a

substantial basis in law and fact and was not vexatious.
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     26.   PIea Asreement Serves Ends of Justice. The United States

is entering into this Plea Agreement with the defendant.because this

disposition of the matter fairly and adequately addresses the gravity of

the series of offenses from which the charges are drawn, as well as the

defendant's role in such offenses, thereby serving the ends of justice.

     27.   Merser of All Prior Neeotiations. This document states the

complete and only Plea Agreement between the United States Attorney

for the Middle District of Pennsylvania and the defendant in this case,

and is binding only on the parties to this Agreement and supersedes all

prior understandings or plea offers, whether written or oral. This

agreement cannot be modified other than in writing that is signed by all

parties or on the record in court. No other promises or inducements

have been or   will   be made to the defendant in connection   with this case.

nor have any predictions or threats been made in connection with this

plea. Pursuant to Rule 11 of the Federal Rules of Criminal Procedure,

the defendant certifies that the defendant's plea is knowing and

voluntary, and is not the result offorce or threats or promises apart

from those promises set forth in this written Plea Agreement.
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     28.    Deadline for Acceptance of PIea Agreement. The o riginal of

this Agreement must be signed by the defendant and defense counsel

and received by the United States Attorney's Office on or before 5:00

p.m., October 8, 2015, otherwise the offer may, in the sole discretion of

the Government, be deemed withdrawn.

     29.    Required Sisnatures. None of the terms of this Agreement

shall be binding on the Office of the United States Attorney for the

Middle District of Pennsylvania until signed by the defendant and

defense counsel and then signed by the United States Attorney or his

designee.




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                                      ACKNOWLEDGMENTS

         I
      have read this agreement and carefully reviewed every part of          it
with my attorney. I fully understand it and I voluntarily agree to it.

  p
Date
        lrlr                                     TERRENCE      RD
                                                 Defendant


                                      have carefully reviewed every part
         I am the defendant's counsel. I
of this agreement with the defendant. To my knowledge my client's
decision to enter into this agreement is an informed and voluntary one.


   lo
Date
        l/   /rr                                 THO       THORNTON
                                                 Counsel for Defendant


                                                 PETER J. SNIITH
                                                 UNITED        ES        ORNEY


  /6-/-      lt                            By:
Date                                             WI            EHE
                                                 ASSIST      U.S. ATTORNEY


(WAB/CAZ; 2014R00549; Oct. l. 20r5)




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